 Case 2:19-cv-05563-RSWL-JPR Document 27 Filed 11/05/21 Page 1 of 1 Page ID #:955



 1
 2                                                                 -6
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   FRANK NATHAN ESCALANTE,        ) Case No. CV 19-5563-RSWL (JPR)
                                    )
12                    Petitioner,   )
                                    )          J U D G M E N T
13               v.                 )
                                    )
14   JIM ROBERTSON, Warden,         )
                                    )
15                    Respondent.   )
                                    )
16
17        Pursuant to the Order Accepting Findings and Recommendations
18   of U.S. Magistrate Judge,
19        IT IS HEREBY ADJUDGED that the Petition is denied and this
20   action is dismissed with prejudice.
21
22   DATED: 1RYHPEHU
                                      RONALD S
                                             S.W.
                                               W LEW
23                                    U.S. DISTRICT JUDGE
24
25
26
27
28
